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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                                    CIVIL MINUTES -
                                       GENERAL

  Case No.          CV 20-01901-JWH (KESx)                           Date    December 17, 2021
  Title        Orlando Garcia v. Kazam M. Baker, et al.


  Present: The Honorable           JOHN W. HOLCOMB, UNITED STATES DISTRICT JUDGE
                   Irene Vazquez                                Courtsmart RS-12-17-21
                   Deputy Clerk                                     Court Reporter
    Attorney(s) Present for Plaintiff(s):                 Attorney(s) Present for Defendant(s):
      Raymond George Ballister, Jr.                                       N/A


Proceedings:          VIDEO HEARING RE: FINAL PRETRIAL CONFERENCE


       Raymond George Ballister, Jr., counsel for Plaintiff Orlando Garcia, states his
appearance. No appearance is made by Andrew K. Rauch, counsel for Defendant
French Pastry Cafe De Jour, Inc. A separate Order to Show Cause shall issue. The
Court confers with Mr. Ballister regarding the posture of the case. For the reasons
stated on the record, the Court hereby ORDERS as follows:

      1.          The Court SETS a video Status Conference on January 14, 2022, at
1:00 p.m.

          2.      The Bench Trial set for January 10, 2022, is VACATED.

          IT IS SO ORDERED.




                                                                                         Time: 00:12
                                                                               Initials of Preparer: iv
